              IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA



OPTOLUM, INC.,

              Plaintiff,
                                         Civil Action No. 1:17-cv-00687
     v.

CREE, INC.,

              Defendant.


           CREE, INC.’S RESPONSE TO OPTOLUM, INC.’S
      SUPPLEMENTAL CLAIM CONSTRUCTION MEMORANDUM




   Case 1:17-cv-00687-WO-JLW Document 144 Filed 07/03/18 Page 1 of 13
                                        TABLE OF CONTENTS


I.      INTRODUCTION ................................................................................................... 1
II.     ARGUMENT .......................................................................................................... 1
        A.          Applicant’s Prosecution History Arguments Disclaim the Subject
                    Matter OptoLum Now Improperly Attempts To Re-Capture. ..................... 1
        B.          The Term “Plane” Refers To A Spatial Orientation. ................................... 7
III.    CONCLUSION ....................................................................................................... 7




 NAI-1503886647v1
                                                            -i-


       Case 1:17-cv-00687-WO-JLW Document 144 Filed 07/03/18 Page 2 of 13
                                        TABLE OF AUTHORITIES

                                                                                                                   Page

CASES

Abbot Labs. & Surmodics, Inc. v. Church & Dwight Co., Inc.,
   2008 WL 5387848 (N.D.Ill., December 22, 2008) ........................................................ 4

Aylus Networks, Inc. v. Apple, Inc.,
   856 F.3d 1353 (Fed. Cir. 2017).................................................................................. 1, 2

Ekchian v. Home Depot, Inc.,
   104 F.3d 1299 (Fed. Cir. 1997)...................................................................................... 2

Gillespie v. Dywidag Systems International, USA,
   501 F.3d 1285 (Fed. Cir. 2007)...................................................................................... 5

Hakim v. Cannon Avent Grp., PLC,
  479 F.3d 1313 (Fed. Cir. 2007)...................................................................................... 6

Laitram Corp. v. Morehouse Indus., Inc.,
   143 F.3d 1456 (Fed. Cir. 1998)...................................................................................... 4

Microsoft Corp. v. Multi-Tech Sys., Inc.,
   357 F.3d 1340 (Fed. Cir. 2004)...................................................................................... 4

Saffran v. Johnson & Johnson,
   712 F.3d 549 (Fed. Cir. 2013)........................................................................................ 5

Seachange Int’l, Inc. v. C-COR, Inc.,
   413 F.3d 1361 (Fed. Cir. 2005).................................................................................. 4, 5

Southwall Techs., Inc. v. Cardinal IG Co.,
   54 F.3d 1570 (Fed. Cir. 1995)........................................................................................ 2

Trivascular, Inc. v. Samuels,
   812 F.3d 1056 (Fed. Cir. 2016)...................................................................................... 4




 NAI-1503886647v1
                                                          -ii-


       Case 1:17-cv-00687-WO-JLW Document 144 Filed 07/03/18 Page 3 of 13
I.      INTRODUCTION

        Cree, Inc. (“Cree”) submits this memorandum in response to OptoLum, Inc.’s

(“OptoLum”) “Supplemental Memorandum In Support Of Claim Construction” (Dkt. No.

140, “Opt. Supp. Mem.”). OptoLum remains steadfast in its failure to address the central

legal and factual issue presented by these claim phrases. OptoLum has no response to the

key issue that it is Applicant’s characterization of the claim scope, in comparison to the

prior art, that defines the construction of the “two plane” limitation. The arguments in

the intrinsic evidence define the scope of the “two plane” limitation to exclude all LEDs

being in a single plane. OptoLum’s attempts to now re-argue the prosecution history are

wrong as a matter of law and fact. They should be seen for what they are – an improper

attempt to re-capture what the Applicant relinquished during prosecution of the patent.

II.     ARGUMENT

        A.          Applicant’s Prosecution History Arguments Disclaim the Subject
                    Matter OptoLum Now Improperly Attempts To Re-Capture.

        In prosecuting a patent application, it is the Applicant who chooses the scope of

subject matter to claim and the arguments to make which contrast that claimed subject

matter to the prior art of record. Giving effect to Applicant’s choices, which were made

on the public record, maintains the notice function of intrinsic evidence. The Federal

Circuit has explained that prosecution disclaimer is “a fundamental precept in our claim

construction jurisprudence which promotes the public notice function of the intrinsic

evidence and protects the public’s reliance on definitive statements made during

prosecution.” Aylus Networks, Inc. v. Apple, Inc., 856 F.3d 1353, 1359 (Fed. Cir. 2017)

 NAI-1503886647v1




      Case 1:17-cv-00687-WO-JLW Document 144 Filed 07/03/18 Page 4 of 13
(internal quotation marks omitted) (quoting, Omega Eng’g v. Rayteck Corp., 334 F.3d

1314, 1323-1324) (holding that the applicant’s distinction over the prior art was an

unequivocal and unambiguous disavowal of claimed subject matter).

         The prosecution history is the evidence of how the USPTO and the inventor

understood the scope of the patent. Id. By “distinguishing the claimed invention over the

prior art, [the applicant] indicat[es] what the claims do not cover, [and] by implication

surrender[s] such protection.” Ekchian v. Home Depot, Inc., 104 F.3d 1299, 1304 (Fed.

Cir. 1997) (emphasis added); see also Southwall Techs., Inc. v. Cardinal IG Co., 54 F.3d

1570, 1581 (Fed. Cir. 1995) (holding that the patentee, having distinguished a prior art

reference in arguments made to the USPTO, “cannot now escape [the defendant’s]

reliance upon this unambiguous surrender of subject matter”). “Ultimately, the doctrine

of prosecution disclaimer ensures that claims are not “construed one way in order to

obtain their allowance and in a different way against accused infringers.”” Id. at 1360

(quoting, Southwall Techs., Inc. v. Cardinal IG Co., 54 F.3d 1570, 1576 (Fed. Cir. 1995).

         The Applicant (for the ‘028 patent) argued (responding to a claim rejection) that:

                  “the Examiner points to Fig. 2B [of Arndt ‘819] as showing
                  solid state light sources that are in a first plane and a second
                  plane not coextensive with the first plane. The Examiner is
                  mistaken. All the LEDs shown in Fig. 2B are in the same
                  plane, i.e., the plane defined by the drawing sheet.” See,
                  Cree’s opening claim construction brief (Dkt. No. 115, pp.
                  14-15) (emphasis in original, emphasis added).

The Applicant did not attempt to argue for patentability based on the identification of

multiple planes. Rather, the Applicant chose to argue that the scope of the “two plane”


                                                 -2-
NAI-1503886647v1
4827-5211-1724, v. 1




       Case 1:17-cv-00687-WO-JLW Document 144 Filed 07/03/18 Page 5 of 13
claim limitation did not encompass the single ring of LEDs shown in Fig. 2B of the

Arndt prior art (i.e., all LEDs in the same plane of the drawing sheet).

         In stark contrast to Applicant’s prosecution arguments, Optolum now takes a

different tact, conceding that the Arndt prior art actually discloses the “two plane”

limitation. Opt. Supp. Mem. at p. 4. OptoLum asserts that “there is no meaningful

distinction between the structures of [the claimed invention] and Arndt [et al.]” Id. at p.

5 (emphasis added). While taking pains to ignore the specific prosecution history

arguments to the contrary, OptoLum now argues: a) Examiner “determined that Arndt

teaches disposing LEDs on a first plane and a second plane” and there was no disclaimer

(Id. at p. 5) and that b) Cree has not met its “high evidentiary burden” for disclaimer.

Both arguments are baseless. They are contrary to the facts and misapply the law.

         OptoLum’s argument that the Examiner “determined” what Arndt discloses (Opt.

Supp. Mem. at 5) is a re-hash of earlier arguments and requires a rewrite of the file

history. Contrary to OptoLum’s arguments, the Examiner responded to Applicant’s

claim scope argument and merely “pointed out” “that Fig. 2B is only a two dimensional

cross-section of the not shown three dimension view of the tubularly shaped, cylindrical,

hollow cooling member 3/1…” See also, Dkt. No. 127, pp. 11-12 and Dkt. No. 141 at p.

8). The Examiner did not address, at all, Applicant’s characterization of the claim scope.

         It is Applicant’s explanation of claim scope, representing that the LEDs disposed

in the single plane of the paper was not encompassed in the “two plane” claim limitation,




                                             -3-
NAI-1503886647v1
4827-5211-1724, v. 1




       Case 1:17-cv-00687-WO-JLW Document 144 Filed 07/03/18 Page 6 of 13
that the Examiner does not contradict.1 Moreover, whether an Examiner allowed (or not)

the claims. does not negate the import of the Applicant’s representations.2 “The fact that

an examiner placed no reliance on an applicant’s statement distinguishing prior art does

not mean that the statement is inconsequential for purposes of claim construction.”

Laitram Corp. v. Morehouse Indus., Inc., 143 F.3d 1456, 1462 (Fed. Cir. 1998); see also

Seachange Int’l, Inc. v. C-COR, Inc., 413 F.3d 1361, 1375 (Fed. Cir. 2005) (“An

applicant’s argument made during prosecution may lead to a disavowal of claim scope

even if the Examiner did not rely on the argument.”); Microsoft Corp. v. Multi-Tech Sys.,

Inc., 357 F.3d 1340, 1350 (Fed. Cir. 2004) (“We have stated on numerous occasions that




         1
         Significantly, Applicant’s “two plane” distinction over Arndt was made more
than once. Applicant made the same representation (i.e., all Arndt LEDs are disposed in
the same, single plane) in arguing for the patentability of a related patent application -- a
CIP (later abandoned) from the parent of the patents-at-issue. Declaration of Lynne A.
Borchers, Exh. A, Appl. Serial No. 10/430,696 (excerpts), Office Action Response dated
April 9, 2007, pp.21-22. Applicant’s restriction of claim scope over Arndt was no
accident or off-hand inadvertent statement. It was a calculated argument, made more
than once, to define the Applicant’s choice of claim scope to secure allowance of the
claim. The law requires that Applicant be held to his own limitations.
         2
         OptoLum again cites Trivascular, Inc. v. Samuels, 812 F.3d 1056, 1064 (Fed.
Cir. 2016) (see Opt. Supp. Mem. at p. 6) to support the proposition that there is no
disclaimer when Applicant’s arguments are rejected. As previously explained (see Dkt.
No. 127, p. 12, n. 7), Trivascular is inapposite to the present case because the amendment
(and associated argument) relied on for the purported disclaimer was never entered into
the application. Contrary to the present case, the Applicant’s argument in Trivascular
was never relevant. Also, OptoLum’s citation to Abbot Labs. & Surmodics, Inc. v.
Church & Dwight Co., Inc., 2008 WL 5387848 (N.D.Ill., December 22, 2008) is
misplaced. The court in Abbot found disclaimer (“These statements [. . .] evidence a
clear disclaimer by Abbot [. . .]”). Moreover, the Examiner in the present case did not
reject Applicant’s arguments (as that was at issue in Abbot).
                                             -4-
NAI-1503886647v1
4827-5211-1724, v. 1




       Case 1:17-cv-00687-WO-JLW Document 144 Filed 07/03/18 Page 7 of 13
a patentee’s statements during prosecution, whether relied on by the examiner or not, are

relevant to claim interpretation.”).

         OptoLum’s follow-on evidentiary burden argument (Opt. Supp. Mem., pp. 6-7), is

similarly misguided. The law recognizes the fact that “applicants rarely submit

affirmative disclaimers.” Saffran v. Johnson & Johnson, 712 F.3d 549, 559 (Fed. Cir.

2013). The law does not demand such statements. Rather, where the Applicant makes an

unqualified assertion distinguishing claim scope over the prior art, the public is entitled to

rely on that assertion limiting the claim scope. Id. at 559-60 (holding claim is limited

claim where Applicant distinguished prior art by asserting that his device was a “sheet”

rather prior art preformed chamber). Seachange International, Inc. v. C-Cor, Inc., 413

F.3d 1361, 1372-1373 (Fed. Cir. 2005) (holding that Applicant’s arguments narrowed the

scope of the claims). Gillespie v. Dywidag Systems International, USA, 501 F.3d 1285,

1291 (Fed. Cir. 2007) (holding the claim limited where Applicant distinguished claim

scope over prior art). In all these cases, the evidentiary burden was met by the clear

import of the plain statements in the intrinsic evidence.

         In this case, the only record evidence concerning the “two plane” claim phrase is

the file history.3 That evidence is clear from its face that the Applicant characterized the


         3
         OptoLum’s apparent contention that other evidence would be available here is
belied by its own conduct. OptoLum’s lawyers (McCarter & English) also represent the
prosecuting attorney (Donald J. Lenkszus) concerning the patents-at-issue. Through
these attorneys, Mr. Lenkszus moved for a protective order preventing his deposition,
inter alia, on the ground that the “prosecution history speaks for itself” and arguing that
“the reason why prosecution counsel made a particular argument” is entitled to no
weight. Dkt. No. 109, pp. 1-2.
                                             -5-
NAI-1503886647v1
4827-5211-1724, v. 1




       Case 1:17-cv-00687-WO-JLW Document 144 Filed 07/03/18 Page 8 of 13
claim scope in comparison to the prior art and unequivocally asserted the Examiner was

mistaken because the single claim phrase did not cover the single ring of LEDs shown as

being disposed in the plane of the drawing sheet of Fig. 2B (irrespective of what other

disclosure Arndt might make). In these circumstances, it is error to find that there is no

disclaimer. Contrary to OptoLum’s arguments, there is nothing “equivocal” about

Applicant’s statements and this is not an evidentiary issue. Those statements clearly meet

the evidentiary burden and demonstrate disclaimer.4

         Finally, in a last-ditch effort to distance itself from the patentee’s arguments made

during prosecution, Plaintiff argues that there is a semantical (not substantive) difference

between the phrase “disposed in” and the phrase “are in.” Opt. Supp. Mem., pp. 5–6.

These semantics are an invitation to chase a red herring. The Court should not indulge it.

The fact is that the prosecution history argument (concerning the “are in” phrase) was

made about the very same “two plane” claim limitation – including the phrase “disposed

in” – that is currently-at-issue. The phrase “are in” was simply used as a shorthand in the

argument to refer to the express limitation “disposed in.” Nothing more. Furthermore,


         4
         OptLum’s further argument (Opt. Supp. Mem., p. 7, n.4) that Applicant
“acquiesced” in the rejection of its “persnickety” argument is equally unsupported and
contrary to law. First, the claims were allowed with the “two plane” limitation, hence,
the claim limitation was not rejected by the Examiner contrary to OptoLum’s argument.
Also, the Applicant did not acquiesce in Examiner’s statements. See Hakim v. Cannon
Avent Grp., PLC, 479 F.3d 1313, 1318 (Fed. Cir. 2007) (“Although a disclaimer made
during prosecution can be rescinded, permitting recapture of the disclaimed scope, the
prosecution history must be sufficiently clear to inform the examiner that the previous
disclaimer, and the prior art that it was made to avoid, may need to be re-visited.”). Since
Applicant’s argument was not subsequently addressed in the prosecution history, there
has been no showing (much less a sufficient one) of acquiescence.
                                              -6-
NAI-1503886647v1
4827-5211-1724, v. 1




       Case 1:17-cv-00687-WO-JLW Document 144 Filed 07/03/18 Page 9 of 13
plain language counsels that “plane” refers to spatial orientation. Had the Applicant

desired a physical, flat surface, then he could have recited that the LEDs are “on” or

“disposed on,” – not “in” or “disposed in” a plane.

         B.       The Term “Plane” Refers To A Spatial Orientation.

         OptoLum’s supplemental memorandum also fails to support its proposed

construction of the term “plane,” i.e., a “physical, flat surface.” In the prosecution

argument over Arndt, the Applicant clearly “defined” the spatial orientation of a “single

plane” to be coextensive with the “drawing sheet,” i.e., FIG. 2B of Arndt et al. That is,

the “drawing sheet” plane provides a spatial orientation of the LEDs relative to one

another as opposed to a “physical flat surface” on which the LEDs are disposed. While

certain embodiments of the tubular (e.g., circular) member are disclosed as having flat

surfaces, the tubular member is not limited to those flat surfaces. Similarly, dependent

claim 7 requires that the “tube” have “flat surfaces.” That claim is superfluous if “plane”

meant “flat surface.” See Dkt. No. 141, p. 15. Again, had the Applicant wanted to

narrow the claims to a physical, flat surface, he could have chosen those words. He did

not. He opted for the much broader – but well understood – concept of a plane.

Accordingly, Cree’s proposed construction for the term “plane” as “a spatial relationship”

should be adopted

III.     CONCLUSION

         For the foregoing reasons, Cree respectfully requests that the Court adopt its

proposed constructions for the “two plane” limitation and for the term “plane.”

RESPECTFULLY SUBMITTED this 3rd day of July, 2018.
                                              -7-
NAI-1503886647v1
4827-5211-1724, v. 1




       Case 1:17-cv-00687-WO-JLW Document 144 Filed 07/03/18 Page 10 of 13
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                                      -8-
NAI-1503886647v1
4827-5211-1724, v. 1




      Case 1:17-cv-00687-WO-JLW Document 144 Filed 07/03/18 Page 11 of 13
                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF NORTH CAROLINA



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                    Defendant.

              CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.3

        I hereby certify that the applicable word count, as defined by Local Rule 7.3(d)
and determined by the WordPerfect software for the memorandum submitted herewith, is
less than 6,250.
                                          /s/ Lynne A. Borchers
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 NAI-1503886647v1




     Case 1:17-cv-00687-WO-JLW Document 144 Filed 07/03/18 Page 12 of 13
                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF NORTH CAROLINA



 OPTOLUM, INC.,

                    Plaintiff,
                                                      Civil Action No. 1:17-cv-00687
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 CREE, INC.,

                    Defendant.

                                 CERTIFICATE OF SERVICE

        I hereby certify that on July 3, 2018, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system, which will send notification to counsel of
record.
                                            /s/ Lynne A. Borchers
                                            Lynne A. Borchers




 NAI-1503886647v1




     Case 1:17-cv-00687-WO-JLW Document 144 Filed 07/03/18 Page 13 of 13
